     CASE 0:11-cr-00280-MJD-BRT       Doc. 487    Filed 01/25/12   Page 1 of 51




                        UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                    CRIMINAL NO. 11-280 (MJD/JSM)

      Plaintiff,

v.                                           REPORT AND RECOMMENDATION


JAVIER HERNANDEZ-CORIA (5),
SUSANA BARRAGAN-SANCHEZ (6),
ADELAIDA BARRAGAN-SANCHEZ (7),
ROBERT ALAN DELFORIN (10),
HAROLD JAMES HURLEY (14), and
ERIKA ROMERO MONTENEGRO (16),

      Defendants.

      JANIE S. MAYERON, United States Magistrate Judge

      The above matter came on for hearing before the undersigned upon Adelaida

Barragan-Sanchez’s Motion for Suppression of Evidence from Search and Seizure

[Docket No. 194]; Adelaida Barragan-Sanchez’s Motion to Suppress Statements

[Docket No. 195]; Adelaida Barragan-Sanchez’s Motion to Suppress Evidence from

Interception of Wire or Oral Communication [Docket No. 196]; Erika Romero

Montenegro’s Motion to Suppress Evidence Obtained from Electronic Surveillance and

Wiretapping [Docket No, 220]; Erika Romero Montenegro’s Motion to Suppress

Confession or Statement in the Nature of the Confessions [Docket No. 221]; Erika

Romero Montenegro’s Motion to Suppress Evidence Obtained in Violation of the Fourth

Amendment [Docket No. 222].

Robert Alan Delforin’s Motion to Suppress any Statements Made by Defendant [Docket

No. 293]; Robert Alan Delforin’s Motion to Suppress any Evidence Obtained as a Result
     CASE 0:11-cr-00280-MJD-BRT        Doc. 487    Filed 01/25/12   Page 2 of 51




of any Illegal Searches [Docket No. 294]; Robert Alan Delforin’s Motion to Suppress any

Identification of Defendant [Docket No. 295]; Robert Alan Delforin’s Motion to Suppress

Evidence of Electronic Surveillance and Wiretapping [Docket No. 296]; Susana

Barragan-Sanchez’s Motion to Suppress the Contents of Any Intercepted Wire or Oral

Communications and Derivative Device [Docket No. 336]; Harold James Hurley’s

Motion for Suppression of Evidence Obtained by Electronic Surveillance [Docket No.

338]; Harold James Hurley’s Motion to Suppress Statements [Docket No. 339]; and

Harold James Hurley’s Motion to Suppress Evidence Obtained Through Illegal Search

[Docket No, 340].

      Assistant United States Attorney Steven L. Schleicher appeared on behalf of the

Government; Gregory J. Schmidt appeared on behalf of Javier Hernandez-Coria who

was present at the hearing; Barry V. Voss appeared on behalf Susana Barragan-

Sanchez who was present at the hearing; Kevin M. O'Brien appeared on behalf

Adelaida Barragan-Sanchez who was present at the hearing; Richard S. Virnig and

Thomas H. Shiah appeared on behalf of Robert Alan Delforin who was present at the

hearing; Jeffrey C. DeGree appeared on behalf Harold James Hurley who was present

at the hearing; and Peter B. Wold appeared on behalf of Erika Romero Montenegro who

was present at the hearing.

      The matter was referred to the undersigned by the District Court for a Report and

Recommendation pursuant to 28 U.S.C. § 636 (b)(1)(B).

I.    ERIKA ROMERO MONTENEGRO’S MOTION TO SUPPRESS EVIDENCE
      OBTAINED IN VIOLATION OF THE FOURTH AMENDMENT [DOCKET NO.
      222]


                                          2
      CASE 0:11-cr-00280-MJD-BRT         Doc. 487     Filed 01/25/12    Page 3 of 51




       A.     Factual Background

       Deputy Kristopher Peterson (“Deputy Peterson”), with the Douglas County

Sheriff’s Office in Omaha, Nebraska, testified that on May 26, 2011, he received an e-

mail from his dispatcher, who had received information from the Oregon Drug

Enforcement Agency (“DEA”) office, that a vehicle involved with possible drug trafficking

would be travelling through Omaha, Nebraska at approximately 8:00-9:00 p.m., with

either Oregon, California or Minnesota plates. See Hearing Transcript [Docket No. 445]

(“Tr.”) 15-16, 38. Deputy Peterson knew the time the vehicle would be entering the

Omaha area because the email provided that the vehicle would be leaving Des Moines,

Iowa around 6:00 p.m., and Des Moines and Omaha were two hours away from each

other. Tr. 38-39. The information received was that the vehicle was Toyota Camry of

an unknown year and unknown color, with possibly female and male occupants. Tr. 16,

38.

       At about 8:16 p.m., at about 24th Street, Deputy Peterson saw a black Toyota

Camry with Oregon plates heading westbound on Interstate 80 and observed that the

driver’s side tires drove completely over the yellow line on the left shoulder for about

200-300 feet.     Tr. 16-18.    Defendant Erika Romero Montenegro (“Montenegro”)

acknowledged that she was driving over the fog line before being pulled over. Tr. 83.

Deputy Peterson testified that such conduct is a traffic violation.       Tr. 17.   Deputy

Peterson also noticed the vehicle swerving within its own lane. Id. Deputy Peterson

stated that based on his experience and training, this driving conduct was indicative of

intoxication, or impairment due to the out-of-state driver being tired and falling asleep at


                                             3
      CASE 0:11-cr-00280-MJD-BRT        Doc. 487    Filed 01/25/12    Page 4 of 51




the wheel.    Tr. 18.   Deputy Peterson conducted a traffic stop of the vehicle at

approximately 8:18 p.m. Tr. 16, 18, 32, 41.

       Deputy Peterson approached on the passenger's side of the vehicle. There was

a male and female inside. Tr. 18. The female was driving. Id. The passenger rolled

down his window and Deputy Peterson asked for the license of the driver. Deputy

Peterson testified that at that point, he could smell an overwhelming order of air

freshener coming from the vehicle and he observed several highly caffeinated energy

drinks scattered throughout vehicle. Id. Deputy Peterson testified that there were over

three air fresheners scattered throughout the vehicle and over four energy drinks. Tr.

42.   According to Deputy Peterson, it is not uncommon to have one or two air

fresheners inside of a vehicle; however, the presence of several air fresheners

scattered around or sprayed throughout the vehicle signified to him that the occupants

were trying to mask some odor of illegal contraband. Tr. 19. The presence of energy

drinks indicated to him that the occupants were travelling a great distance, were trying

to get to their destination quickly, and needed to stay awake for longer periods of time.

Id. Deputy Peterson noted that there was no smell of narcotics or alcohol coming from

the vehicle. Tr. 43. In the video of the stop, Deputy Peterson communicated to another

officer in two separate instances that he had smelled the overwhelming odor of air

freshener. See Montenegro Ex. F (Time entries at 21:29, 21:36).1

       Deputy Peterson took pictures of the interior of vehicle, claiming they would show

the air fresheners and energy drinks. Tr. 42. Montenegro submitted exhibits, which

1
      The time entries on the video do not match the times provided by Deputy
Peterson. No explanation was provided for this discrepancy of an hour.
                                         4
     CASE 0:11-cr-00280-MJD-BRT         Doc. 487    Filed 01/25/12    Page 5 of 51




were photographs of the exterior and interior of the vehicle. See Montenegro Exs A,E.

While the mirror had no air freshener hanging from it, Deputy Peterson testified that one

of the air fresheners, which had a picture of a skull on it, was visible in Exhibit E

underneath the driver’s seat, and that another was attached to the pink string visible by

the steering wheel in the same exhibit. Tr. 61-62, Montenegro Exs. D, E. Admitting

they were not visible in any of the photographs, Deputy Peterson testified that he

believed there was also one air freshener located in the center console and another air

freshener stuck between the ignition and the radio area. Tr. 63. As for the energy

drinks, Deputy Peterson testified that the energy drink containers were found on the

floor of the vehicle in the back compartment, and that he had not taken a picture of this

area. Tr. 63-64. In the video of the stop, Deputy Peterson communicated to another

officer prior to the search that he had seen 5-hour energy drinks in the back of the

vehicle when he was trying to retrieve Montenegro’s shoes. See Montenegro Ex. F

(Time Entry at 21:29).

      Deputy Peterson obtained the driver’s license from the driver, who was

Montenegro, and her registration and proof of insurance.       Tr. 19-20.   The driver’s

license was an Oregon license and stated that Montenegro lived in Oregon. Tr. 44.

Deputy Peterson asked Montenegro if she was okay to drive and Montenegro explained

she was tired. Tr. 20. Deputy Peterson informed Montenegro of the reason for the stop

and she acknowledged that she understood by shaking her head up and down. Id.

Montenegro appeared to understand Deputy Peterson. Id.




                                           5
     CASE 0:11-cr-00280-MJD-BRT          Doc. 487    Filed 01/25/12      Page 6 of 51




      Subsequently, Deputy Peterson asked Montenegro to come back to his squad

car so he could look over the vehicle paper work and to ask her some additional

questions. Id. Deputy Peterson learned from Montenegro that she was traveling from

Minnesota and that her ultimate destination was California. Tr. 21. Deputy Peterson

asked Montenegro for her final destination in California; she responded that she did not

understand the question.    Tr. 21. When Deputy Peterson asked her if it was San

Francisco, Montenegro agreed that this was her destination.        Id.   Deputy Peterson

stated during the stop that he believed that Montenegro would have agreed to any city

in California that he would have asked her. See Montenegro Ex. F (Time Entry at

21:29-30).

      At this point, Deputy Peterson believed that he was having difficulty

communicating to Montenegro in English and even tried to use a translation program to

communicate with Montenegro to no avail. Tr. 21. Deputy Peterson then made a

request for a Spanish-speaking officer. Tr. 21-22. According to Deputy Peterson, he

contacted the Spanish-speaking officer approximately 10 minutes after the stop took

place. Tr. 35.

      Montenegro initially testified at the hearing that she only understood a couple of

words in English, despite living in the United States for a long time. Tr. 83-84. She also

testified that when Deputy Peterson asked for her in English for her driver’s license, she

understood his request and complied. Tr. 84-85. In addition, she testified that she

provided registration documents to Deputy Peterson because he asked her for them; in

response to Deputy Peterson’s inquiry if she was okay to drive, she was able to respond


                                            6
     CASE 0:11-cr-00280-MJD-BRT         Doc. 487    Filed 01/25/12      Page 7 of 51




that she was tired; and she answered his inquiry as to where she was coming from,

telling him it was Minnesota. Tr. 85.

      As to the registration information provided by Montenegro, Deputy Peterson

stated that in February of 2011, the mileage for the vehicle was registered at just under

80,000 miles, but at the time of the stop, the odometer showed almost 103,000 miles.

Tr. 22. Deputy Peterson testified that this information indicated that the vehicle had

travelled over 30,000 miles during a-month-and-a-half period, which was not typical. Tr.

22, 41.

      Based on his observations of the driver and the general description that was

provided to him before the stop, the observations of the odometer and the other

indicators about which he had testified, Deputy Peterson believed that the vehicle could

contain contraband in the form of a large amount of currency. Tr. 28.

      Deputy Peterson testified that he provided an authorization form for consent to

search the vehicle to Montenegro in both Spanish and English, which she appeared to

read, and that a Spanish-speaking officer read the form to her.            Tr. 22-26, 45.

Montenegro signed the consent to search form. Tr. 82, Govt. Ex. 1.

      After obtaining Montenegro’s consent to search, Deputy Peterson testified that

he went to get the passenger out of the vehicle and as he walked by, he looked at the

wheel wells and could see that the underspray had been tooled, signifying that

somebody might have been up in the wheel well searching around that area. Tr. 26-




                                           7
       CASE 0:11-cr-00280-MJD-BRT       Doc. 487    Filed 01/25/12   Page 8 of 51




28.2    Based on his experience in doing drug interdictions on the highway, this

observation indicated to Deputy Peterson that there might possibly be an aftermarket

hidden compartment in the wheel well. Tr. 28. In searching the area, he found no such

compartment. Id.

        The officers searched the vehicle for approximately 30 minutes and then decided

to tow the vehicle to a safer location to complete the search. Tr. 28-29. A compartment

was located in the back seat area on the driver's side area, which contained a large

amount of currency. Tr. 29.

        Montenegro testified at the hearing that she moved to the side of the road

because she thought that the police officer traveling behind her wanted to pass, as he

was driving very close to her. Tr. 78-79. Montenegro denied the presence of any air

fresheners because they made her dizzy.         Tr. 79.   Montenegro also denied the

presence of any energy drinks in the vehicle. Id.




        B.    Analysis




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       Montenegro argued that the video of the traffic stop contradicts this testimony.
Montenegro Mem., p. 4 (citing Montenegro Ex. F). According to Montenegro: “From the
time of the stop at approximately 21:18 until the search of the car at approximately
21:55, Deputy Peterson does not appear to make any observations of the wheel well.
He does however receive a phone call instructing him to look into the wheel wells at
around 21:44.” Id. The video recording at 21:44 includes a conversation of Deputy
Peterson with an unknown individual discussing looking in the wheel wells of the vehicle
and subsequent video starting a 21:55 shows officers, after receiving consent to search
the vehicle, looking in a wheel well. See Montenegro Ex. F.
                                           8
     CASE 0:11-cr-00280-MJD-BRT          Doc. 487     Filed 01/25/12    Page 9 of 51




       Montenegro argued that the evidence seized from her vehicle on May 26, 2011,

after she provided police officers written consent to search her vehicle, should be

suppressed because she was illegally seized prior to providing her consent to search.

See Memorandum in Support of Motion to Suppress evidence Obtained in Violation of

the Fourth Amendment (“Montenegro Mem.”) [Docket No. 457]. p. 1. She submitted

that once Deputy Peterson’s suspicions that she was impaired were alleviated by his

determination that she was not intoxicated, and the other supporting indicators for his

request for consent to search were determined not to be credible,3 it was clear that

immediately following the stop, Deputy Peterson shifted the purpose from a justified

traffic stop to a drug investigation, and this did not amount to a brief extension of the

investigation. Id., pp. 3-4. Montenegro claimed that the “extent and duration of Deputy

Peterson’s focus on non-routine questions prolonged the stop ‘beyond the time

reasonably required’ to complete its purpose.” Id., (quoting Illinois v. Caballes, 543 U.S.

405, 407 (2005)). As she was detained for nearly 30 minutes before the deputies began

to search her car, Montenegro asserted that this prolonged detention violated her

Fourth Amendment right to be free from unreasonable seizures. Id., p. 5.

       The Government countered that Deputy Peterson properly extended the scope of

the traffic stop based on a reasonable suspicion of criminal activity, and on the basis

that the consent to search the vehicle was obtained about 33 minutes after the initial

stop, which was not unreasonable considering the time needed to obtain her license



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       According to Montenegro, none of the photos of the car showed the presence of
any energy drink containers or air fresheners. Montenegro Mem., p. 4 (citing Tr. 58-59,
62-63; Exs. A-E).
                                           9
     CASE 0:11-cr-00280-MJD-BRT          Doc. 487     Filed 01/25/12    Page 10 of 51




and registration information, to engage in conversation regarding her impaired driving,

to obtain itinerary information from her and to wait for a Spanish-speaking officer to

better communicate with her. See Government’s Response to Defendants’ Memoranda

in Support of Suppression Motions (“Govt. Mem.”) [Docket No. 466], pp. 4-5.

       The Fourth Amendment guarantees “the right of the people to be secure in their

persons, houses, papers, and effects, against unreasonable searches and seizures,

shall not be violated.” “It is well established that a roadside traffic stop is a ‘seizure’

within the meaning of the Fourth Amendment.” United States v. Jones, 269 F.3d. 919,

924 (8th Cir. 2001). However, “a traffic violation – however minor – creates probable

cause to stop the driver of a vehicle.” United States v. Linkous, 285 F.3d 716, 719 (8th

Cir. 2002) (citations omitted). This is true even if a valid traffic stop is a pretext for

another investigation. Id. (citation omitted). Additionally, law enforcement may conduct

a search of an individual’s vehicle without a warrant or probable cause if that person

voluntarily consents to the search. See, e.g., United States v. Bradley, 234 F.3d 363,

366 (8th Cir. 2000).

       There is no dispute that Montenegro gave Deputy Peterson the consent to

search her vehicle approximately 33 minutes after the stop, which the Court finds is a

reasonable period of time given the circumstances.          In addition to addressing the

reasons for a valid traffic stop, an officer may conduct a reasonable investigation, which

includes “asking for the driver's license and registration, requesting that the driver sit in

the patrol car, and asking the driver about his destination and purpose.” United States

v. Johnson, 58 F.3d 356, 357 (8th Cir. 1995), cert. denied, 516 U.S. 936 (1995) (quoting


                                             10
     CASE 0:11-cr-00280-MJD-BRT           Doc. 487     Filed 01/25/12        Page 11 of 51




United States v. Bloomfield, 40 F.3d 910, 915 (8th Cir. 1994)); see also United States v.

McCarty, 612 F.3d 1020, 1024-25 (8th Cir. 2010) (“During a lawful traffic stop, an officer

may conduct a reasonable investigation. A reasonable investigation includes asking the

driver for his license and registration, requesting the driver to sit in the patrol car to

answer questions, verifying the driver's identification and related documents, and asking

questions about the driver's itinerary.”) (citations omitted); United States v. $404,905.00

in U.S. Currency, 182 F.3d 643, 647 (8th Cir. 1999) (“having made a valid traffic stop,

the police officer may detain the offending motorist while the officer completes a number

of routine but somewhat time-consuming tasks related to the traffic violation, such as

computerized checks of the vehicle's registration and the driver's license and criminal

history, and the writing up of a citation or warning”) (citation omitted).

       As part of his investigation, Deputy Peterson was able to and did obtain license

and registration information from Montenegro. Further, Deputy Peterson legitimately

took Montenegro out of her vehicle, placed her into his squad and asked her questions

regarding her itinerary.    Because he ran into a language barrier with Montenegro,

Deputy Peterson appropriately asked for and waited for the arrival of an interpreter.

Given these circumstances, the Court finds that the time delay from her initial stop to

obtaining her consent to search the vehicle was not unreasonable.

       Additionally, the Court finds that Deputy Peterson had a reasonable suspicion

that criminal activity was afoot to detain Montenegro while the officer continued his

investigation. If an officer’s suspicions are further aroused in the course of a lawful

stop, “the officer may expand the scope of the inquiry and detain the occupants of the


                                              11
     CASE 0:11-cr-00280-MJD-BRT         Doc. 487     Filed 01/25/12    Page 12 of 51




automobile for further investigation.” United States v. Poulack, 236 F.3d 932, 936 (8th

Cir. 2001); see also United States v. Long, 320 F.3d 795, 800 (8th Cir. 2003) (“an

investigative stop can grow out of a traffic stop so long as the officer has reasonable

suspicion to expand his investigation, even if his suspicions are unrelated to the traffic

offense that served as the basis for the stop.”); see also McCarty, 612 F.3d at 1025

(“‘To continue to detain a vehicle’s occupants after the initial stop is completed, the

officer must have been aware of particularized, objective facts which, taken together

with rational inferences from those facts, reasonably warrant suspicion that a crime is

being committed.’”) (quoting United States v. Shafer, 608 F.3d 1056, 1062 (8th Cir.

2010)). The reviewing court must then look at the totality of the circumstances, in light

of the officer's experience to determine whether the officer had reasonable suspicion to

expand the scope of the stop. See Poulack, 236 F.3d at 936 (quoting United States v.

Carrate, 122 F.3d 666, 668 (8th Cir. 1997)); see also McCarty, 612 F.3d at 1025

(“Whether an officer has reasonable suspicion to expand the scope of a traffic stop is

determined by looking at the totality of the circumstances, in light of the officer's

experience.”) (quoting United States v. Gill, 513 F.3d 836, 844 (8th Cir. 2008)).

      At the time of the stop, Deputy Peterson had knowledge from the DEA that a

Toyota Camry that could be involved with narcotics, would be passing through Omaha

between approximately 8:00-9:00 p.m., with either Minnesota, California or Oregon

plates, and male and female occupants. The vehicle stopped by Deputy Peterson was

a Toyota Camry, with Oregon plates and a male and female occupant. Further, Deputy

Peterson was struck by an overwhelming odor of air fresheners in the car, which


                                            12
     CASE 0:11-cr-00280-MJD-BRT         Doc. 487    Filed 01/25/12    Page 13 of 51




suggested the hiding of the smell of narcotics, and saw several energy drink bottles,

which was indicative of people trying to travel long distances quickly. While Montenegro

disputes the presence of air fresheners and energy drinks based on a lack of clear

photographic evidence, the Court notes that the photographs corroborate, at least part,

Deputy Peterson’s assertion that there were air fresheners in the vehicle, and he

testified that the energy drinks were on the floor of the back compartment for which

there was no photograph. Deputy Peterson’s statements are further corroborated by

the videotape of the stop during which he stated on two occasions that he smelled the

strong odor of air freshener coming from the vehicle and he saw energy drinks in the

back of the vehicle while retrieving Montenegro’s shoes. In addition, Deputy Peterson

had information from the registration materials that the vehicle had travelled over 30,000

miles in a short period of time.    Finally, while Montenegro knew she was going to

California, she did not know her final destination until Deputy Peterson suggested San

Francisco.

       Based on the totality of these circumstances, Deputy Peterson had reasonable

suspicion to expand the scope of his investigation beyond the traffic stop, to investigate

possible narcotics violations connected with the vehicle, and to detain Montenegro, as

the driver, while doing so.

       For all of the reasons stated above, the Court finds that Montenegro’s motion to

suppress evidence discovered in the vehicle should be denied.




                                           13
      CASE 0:11-cr-00280-MJD-BRT        Doc. 487    Filed 01/25/12      Page 14 of 51




II.    ERIKA ROMERO MONTENEGRO’S MOTION TO SUPPRESS CONFESSION
       OR STATEMENT IN THE NATURE OF THE CONFESSIONS [DOCKET NO.
       221]

       A.    Factual Background

       DEA Special Agent Jay Anderson (“Agent Anderson”) currently works at the San

Francisco Field Division and previously worked out of the Oakland California Resident

Office. Tr. 46-47. On September 15, 2011, Agent Anderson interviewed of Montenegro

at the request of the Minneapolis DEA Field Office. Tr. 47-48. The only information that

Agent Anderson knew about the case was that Montenegro was involved in a traffic

stop in Nebraska, a large amount of currency was found in her vehicle, and he was

aware of methamphetamine distribution in the Minneapolis area.               Tr. 48, 54.

Montenegro had been arrested earlier on September 15, 2011, pursuant to a federal

arrest warrant. Tr. 48-49. Agent Anderson testified that he assisted in Montenegro’s

arrest. Tr. 53.   During the arrest, Montenegro had notified officers that she had minor

children who were in school at the time. Tr. 54.

       The interview started approximately at 12:50 p.m.      Tr. 48.     Agent Anderson

testified that Montenegro was calm and was aware of what was going on before the

start of the interview. Tr. 49. Agent Anderson stated there was no indicia of alcohol

consumption or intoxication, use of controlled substances, and Montenegro appeared to

be aware of what was happening. Id. Agent Anderson enlisted the assistance of a

Spanish-speaking officer, Antonio Gregoso (“Officer Gregoso”), with the Oakland

School Police, to communicate with Montenegro, as it was clear that she could not

communicate in English.     Tr. 49-50, 54.    Using Officer Gregoso as an interpreter,


                                             14
      CASE 0:11-cr-00280-MJD-BRT        Doc. 487    Filed 01/25/12     Page 15 of 51




Montenegro was administered a Miranda warning using the standard DEA form 13-A

Miranda card to administer the rights. Tr. 50. The card had both an English side and a

Spanish side. Tr. 50-51; Govt. Ex. 44. Officer Gregoso read the Miranda warning to

Montenegro in Spanish. Montenegro understood the warnings provided to her. Tr. 51.

       The interview took approximately 40-50 minutes. Tr. 52. Montenegro was not

handcuffed during the interview. Tr. 51-52. At no time during the interview did she ask

for an attorney or indicate a desire not to speak with the officers. Tr. 52. Montenegro

indicated that she understood her rights and she agreed to provide the officers with a

statement. Id. Montenegro appeared to understand the questions asked. Id.

       Officer Fregoso testified that on September 15, 2011, he received a call from

Agent Anderson asking him to assist with an interview in Spanish. Tr. 67-68. Upon

arrival at the Oakland Resident Office, Agent Anderson quickly briefed him on the

situation, he then met Montenegro, and the interview started. Tr. 68. According to

Officer Fregoso, prior to reading the Miranda rights to her, he introduced himself and he

found her sober, calm, and collected, but somewhat confused as to why she was there.

Id.   Officer Fregoso read in Spanish the Miranda rights provided to him by Agent

Anderson to Montenegro. Tr. 68-69. Montenegro testified that she is fluent in Spanish

and is able to read Spanish. Tr. 81. Montenegro also testified that she was given the

Spanish Miranda rights. Tr. 82. Montenegro indicated that she understood her rights

and she was willing to give a statement. Tr. 69. Officer Fregoso testified that at no time

did Montenegro ask for an attorney or state that she did not wish to speak to the

officers. Tr. 67-70. The interview lasted for about an hour. Tr. 70.


                                           15
     CASE 0:11-cr-00280-MJD-BRT            Doc. 487     Filed 01/25/12      Page 16 of 51




          According to Officer Fregoso, at no time did he threaten Montenegro in any way

or make any promises in order to get her to make a statement or waive her rights. Id.

When asked on cross-examination as to whether he told Montenegro about the

potential necessity of calling authorities to deal with her children, Officer Fregoso

testified:

                Not that I recall. I remember asking her if she had someone
                to take care of her children and we could assist her with that.
                But, I don't remember telling her we were going to call the
                authorities to take her children.

Tr. 75.

          Montenegro testified that she spoke with the officers “[b]ecause the agent who

had just left said that that was my only chance that I had so that they wouldn't take away

my children. And they would then stop that call.” Tr. 80. The officer held his phone and

told her that he could stop that from happening, he mentioned the name of a company

and that they could retrieve her children wherever they were. Id. Montenegro said that

the officer told her that she only had to tell officers “whose money it was.” Id.

          On re-direct examination, Officer Fregoso testified as follows:

                Q. Sir, Ms. Montenegro testified at the motions hearing after
                you left and indicated that you told her that if she gave you a
                statement, you would be able to avoid having her children
                taken away.

                A. No. We told her that -- she mentioned her children, and
                we told her that we would let her call whoever she needed to
                pick up her children from school, I believe it was. They were
                at school.

                Q. Was the child care issue or the discussion about children
                in any way related to the Miranda waiver?


                                               16
    CASE 0:11-cr-00280-MJD-BRT           Doc. 487    Filed 01/25/12   Page 17 of 51




               A. Not to the Miranda waiver, no.

               Q. Did you condition her being able to take care of her child
               care obligations in any way on her agreeing to talk to you?

               A. Not that I recall.

               Q. Or waiving her Miranda rights?

               A. No.

               Q. Can you recall specifically what you told Ms. Montenegro
               in its entirety regarding her children?

               A. I remember telling her that once -- she brought up the
               question about her children, her children would be at school
               and all this other -- somebody needed to pick them up or --
               pick up her children from school. And so we would give her
               the opportunity to call someone to pick up her children, who
               she wanted to pick up her children. And she mentioned she
               had her father, and her boyfriend, I believe, and we told her
               we would give her the opportunity to call them so they could
               pick the children up from school.

               Q. Did that take place before the Miranda warning?

               A. I believe that took place after the Miranda. I am not
               exactly sure.

               Q. Did you tell her that you would allow her to make these
               child care arrangements if she would just tell you whose
               money it was?

               A. Not that I recall.

Tr. 108-110.




                                            17
     CASE 0:11-cr-00280-MJD-BRT         Doc. 487     Filed 01/25/12    Page 18 of 51




       B.     Analysis

       Montenegro has moved to suppress her September 15, 2011 statement to law

enforcement on the basis that an officer told her that talking with officers was the only

chance she had to avoid having the police take her children away from her.              See

Memorandum in Support of Motion to Suppress Confession or Statements in the Nature

of Confessions [Docket No. 456], pp. 2-3. According to Montenegro, such an express

or implied promise critically impaired her capacity to agree to give a statement. Id.

       In opposition, the Government attacked the credibility of Montenegro, arguing

that her claims were a fabrication. See Govt. Mem., p. 7. In support, the Government

pointed to other fabrications by Montenegro including: she claimed she drove over the

fog line in Nebraska because the officer was following her very closely, when the

testimony of Deputy Peterson and the video showed otherwise; and her initial testimony

that she could not communicate in English, was contradicted by her later testimony that

she was able to communicate in English with Deputy Peterson regarding her license

and registration, her trip and whether she was able to drive. Id. at p. 8. According to

the Government, Montenegro had a motive to lie in order to suppress evidence in

serious narcotics case against her, whereas the officers that were involved with taking

her statement had no motive to perjure themselves, especially when they were only

conducting a one-time assist for an out of state investigation. Id., pp. 8-9. In short, the

Government contended that Montenegro’s statement, following the Miranda warning,

was voluntary. Id., pp. 9-10.




                                            18
     CASE 0:11-cr-00280-MJD-BRT          Doc. 487     Filed 01/25/12    Page 19 of 51




      A waiver of Miranda rights is valid if it satisfies the following criteria: “First, the

relinquishment of the right must have been voluntary in the sense that it was the product

of a free and deliberate choice rather than intimidation, coercion, or deception. Second,

the waiver must have been made with a full awareness of both the nature of the right

being abandoned and the consequences of the decision to abandon it.” United States

v. Turner, 157 F.3d 552, 555 (8th Cir. 1998) (citing United States v. Jones, 23 F.3d

1307, 1313 (8th Cir. 1994)). “The determination of whether an accused has knowingly

and voluntarily waived his Miranda rights depends on all the facts of each particular

case.” Stumes v. Solem, 752 F.2d 317, 320 (8th Cir. 1985) (citing Fare v. Michael C.,

442 U.S. 707, 724-25 (1979)). Only if the “‘totality of the circumstances surrounding the

interrogation’” reveals both an uncoerced choice and the requisite level of

comprehension may this Court properly conclude that the defendant’s Miranda rights

have been waived. See Moran v. Burbine, 475 U.S. 412, 421 (1986) (quoting Fare, 442

U.S. at 725).

      The outcome of this dispute rises and falls on the credibility of Agent Anderson

and Officer Fregoso versus that of Montenegro regarding whether the officers

threatened to take her children away from her. Having considered all of the evidence,

this Court finds Agent Anderson and Officer Fregoso’s testimony is more believable.

First, the Court has issues with Montenegro’s the credibility based in part on her

testimony that there were no air fresheners in her vehicle because they make her sick,

when the photographs showed at least one air freshener in the vehicle and the

videotape recording reflects Deputy Peterson remarking at least twice about the smell of


                                            19
     CASE 0:11-cr-00280-MJD-BRT         Doc. 487     Filed 01/25/12    Page 20 of 51




air fresheners in the vehicle. In addition, Montenegro testified that there were no energy

drinks in the vehicle, despite Deputy Peterson’s statements in the videotape recording

that he observed energy drinks in the back of the vehicle as he retrieved her shoes.

Further, her conflicting testimony regarding her proficiency in English placed her

veracity in doubt.

       On the other hand, Agent Anderson and Officer Fregoso had no vested interest

in this case to lie about coercing Montenegro into giving a statement, especially given

their only involvement in this investigation was to interview Montenegro at the request of

the Minnesota DEA field office. In other words, Agent Anderson and Officer Fregoso

lacked any motivation to perjure themselves to this Court, while Montenegro surely was

motivated to provide testimony to negate a finding of guilt and avoid her incarceration.

See United States v. Gleason, 25 F.3d 605, 607 (8th Cir. 1994) (finding that an

enforcement officer’s testimony may be given more weight than that of a defendant who

has “a great deal of self-interest in having the testimony suppressed.”).

       Based on this credibility finding, this Court concludes that there no threats or

promises were made to Montenegro so as to render her statement involuntary. Rather,

the evidence establishes that Montenegro agreed to give a statement to police after

being apprised of her rights under Miranda. Her motion to suppress statements should

be denied.




                                            20
       CASE 0:11-cr-00280-MJD-BRT        Doc. 487     Filed 01/25/12       Page 21 of 51




III.    HAROLD JAMES HURLEY’S MOTION TO SUPPRESS STATEMENTS
        [DOCKET NO. 339] AND HAROLD JAMES HURLEY’S MOTION TO
        SUPPRESS EVIDENCE OBTAINED THROUGH ILLEGAL SEARCH [DOCKET
        NO. 340]

        A.    Factual Background

        Michael Frank Meyer (“Officer Meyer”), a St. Paul Police Officer assigned to the

DEA as a task force officer, testified that he has been involved in a large narcotics

investigation dealing with another co-defendant Uriel Magana-Farias (“Magana-Farias”).

Tr. 93-95. This investigation included participation in court-authorized Title III wiretaps,

a great deal of surveillance, and coordinating traffic stops. Tr. 95-96.

        Officer Meyer testified that as part of his involvement in the investigation and

prior to any traffic stop of defendant Harold James Hurley (“Hurley”), he knew that an

individual by the name of Jose Oceguara (“Oceguara”) was involved in drug trafficking.

Tr. 97. Specifically, Officer Meyer observed Oceguara in a vehicle with a man named

Bonitas and another person who had arrived on a motorcycle. Id. The person on the

motorcycle got out of the vehicle in less than a minute, and then left. Id. The individual

was subsequently subjected to a traffic stop and a pound of methamphetamine was

recovered. Id. In a post-Miranda statement, the motorcycle driver told officers that he

had received that methamphetamine from Oceguara. Id. The person on the motorcycle

also told officers that he had done numerous deals with these two individuals. Tr. 98.

Officer Meyer testified that he also knew as of July 25, 2011, through the monitoring of

telephone calls, that Oceguara had made arrangements for a person known as James

Jeanetta (“Jeanetta”) to buy methamphetamine, and he knew that Jeanetta had a



                                            21
     CASE 0:11-cr-00280-MJD-BRT         Doc. 487    Filed 01/25/12     Page 22 of 51




criminal history for methamphetamine and that Jeanetta’s family was very well known

for methamphetamine. Tr. 99.

      On July 25, 2011, officers observed Bonitas meet up with a man by the last name

of Sanchez at a superette. Tr. 99-100. Officers then observed Jeanetta arriving and

then leaving with Bonitas to go back to his residence. Tr. 100. According to Officer

Meyer, officers knew that Sanchez was one of the individuals who would deliver

methamphetamine to Oceguara and Bonitas and that Sanchez is a person from whom

various controlled purchases of methamphetamine had been made. Id. Based on the

officers’ surveillance, they believed that the interaction at the superette was consistent

with a hand-to-hand transaction.    Tr. 101.    During the surveillance of the Jeanetta

residence, officers observed a white vehicle pull into the driveway of the residence, an

individual later identified as Hurley got out of the vehicle and went into the house,

stayed in the house for less than five minutes, came out and then left. Id. Officers had

had no contacts or dealings with Hurley prior to July 25.       Tr. 115.   Based on the

relatively short interaction between Hurley and Jeanetta's residence, Officer Meyer

believed that Hurley had likely picked up narcotics. Tr. 101-02. Officer Meyer wanted

the vehicle stopped in order to determine who was driving the vehicle. Tr. 102.

      Officer Meyer contacted St. Paul Police Officer Chad Dagenais (“Officer

Dagenais”) to conduct the stop. Tr. 102. Officer Dagenais testified that in following the

suspect vehicle, he noticed that the vehicle had a rear brake light out, which was an

equipment violation and a legal reason to stop the vehicle.          Tr. 124.   The driver

identified himself as Hurley. Tr. 125. During the stop, Officer Dagenais called Officer


                                           22
     CASE 0:11-cr-00280-MJD-BRT         Doc. 487    Filed 01/25/12    Page 23 of 51




Meyer for direction on how to proceed with regard to searching the vehicle and Officer

Meyer told him to search the vehicle if he had probable cause to search the vehicle or

consent from the driver. Tr. 126. Officer Dagenais did not believe he had probable

cause to search the vehicle. Id. Officer Dagenais asked and received consent from

Hurley to search his vehicle. Id. Because Officer Meyer did not want to do anything to

tip off Hurley to the investigation, Officer Dagenais performed a very brief search of the

interior of the vehicle and found no contraband. Tr. 126-27. Officer Dagenais did not

cite Hurley and released him from the scene. Tr. 127.

      Officer Meyer testified that on August 2, 2011, officers had set up surveillance of

Jeanetta’s residence. Officers observed Bonitas arrive at the residence with Oceguara

and saw Sanchez arrive within minutes thereafter. Tr. 103-104. Bonita was observed

having a brief conversation with Jeanetta, but officers did not know if a hand-to-hand

transaction had occurred. Tr. 104. Bonitas and Oceguara then left the residence. Id.

Officers followed Jeanetta when he left his residence and observed him travelling to a

business located on University Avenue. Id. Jeanetta stayed at the business for a short

period of time. Tr. 104, 118-19. Officers then observed him driving from that business

to an AutoZone on the border of Oakdale and Maplewood. Tr. 104, 116. Officer Meyer

testified that Jeanetta went into the AutoZone, came outside with a female employee,

and they had some type of diagnostic tool with them to look at his truck. Id. The

AutoZone employee helped him out for a short time, and then went back into the store.




                                           23
    CASE 0:11-cr-00280-MJD-BRT         Doc. 487     Filed 01/25/12    Page 24 of 51




Id. Jeanetta then just sat at the AutoZone until Hurley’s vehicle arrived.4 Tr. 104-05. A

surveillance officer observed Jeanetta get out of the truck, go over to Hurley's open

driver's window, lean in and give him something.        Tr. 105.     Although it was not

determined at that time what it was, the conduct was very consistent with a hand-to-

hand narcotics transaction. Id. This conversation and exchange took approximately 10

to 15 seconds. Tr. 106. Based on these observations, his experience and training and

what he knew about the various individuals involved in this investigation, Officer Meyer

believed he had probable cause to believe that Hurley had picked up narcotics from

Jeanetta. Tr. 106, 119. Officers followed Hurley’s vehicle to Interstate 94, and Officer

Meyer contacted St. Paul Officer Todd Bjorkman (“Officer Bjorkman”) to conduct a stop,

as he believed that the vehicle contained methamphetamine. Tr. 106.

      Officer Bjorkman testified that on August 2, 2011, he was contacted by Officer

Meyer and was told that there was a vehicle going westbound on Interstate 94 that he

needed stopped and described that it was a Dodge Dynasty, or that type of vehicle,

traveling at a high speed rate of speed. Tr. 133. Officer Bjorkman was also given the

plate number of the vehicle. Id. Officer Bjorkman was on 7th and Lafayette on the

entrance ramp to Westbound Interstate 94 when he saw a white Chrysler New Yorker

pass him at a high rate of speed, and at a higher speed than any other vehicles

surrounding it.   Id.   Officer Bjorkman followed the vehicle to Interstate 35 at the

Maryland Avenue exit, where it exited the Interstate. Tr. 133-34. Officer Bjorkman then

observed the vehicle run through a red stoplight, which is a traffic violation. Tr. 134.

4
      Officers noted that the vehicle had the same plates as the vehicle that had been
stopped on July 25. Tr. 105.
                                           24
     CASE 0:11-cr-00280-MJD-BRT         Doc. 487     Filed 01/25/12   Page 25 of 51




Officer Bjorkman stopped the vehicle. Id. Officer Bjorkman obtained the driver’s license

of the driver, which identified him as Hurley. Tr. 134-35.

       After going back to his squad car, Officer Bjorkman made a telephone call to

Officer Meyer to tell him what had occurred and the identity of the driver. Tr. 135.

Officer Bjorkman testified that prior to talking with Officer Meyer, he did not have an

independent basis or probable cause to search Hurley’s vehicle for narcotics. Tr. 135-

38. Officer Bjorkman stated that Officer Meyer told him to search the vehicle due to a

suspected narcotic transaction. Tr. 136. Officer Meyer confirmed that he instructed

Officer Bjorkman to search the vehicle because there was probable cause to believe

that the narcotics would be found in the vehicle. Tr. 120. During the search of the

vehicle, Officer Bjorkman discovered in the center console a brown paper bag that

contained four baggies that appeared to contain methamphetamine or cocaine. Tr. 136.

Id. Based on this discovery, Officer Bjorkman arrested Hurley. Id.

       B.     Analysis

       Hurley argued that the evidence of methamphetamine seized from his vehicle on

August 2, 2011 should be suppressed because officers lacked sufficient probable cause

to believe that there was evidence of narcotics present in his vehicle. See Defendant

Hurley’s Memorandum in Support of Motion to Suppress (“Hurley Mem.”) [Docket No.

459], pp. 3-5. Specifically, Hurley asserted that the only evidence in possession of the

officers prior to the August search was the July 25 search of his vehicle that yielded no

narcotics, his contact with an individual who was engaging in a legitimate business

transaction, and his subsequent speeding and running a stop light. Id., p. 4. As to the


                                            25
     CASE 0:11-cr-00280-MJD-BRT          Doc. 487    Filed 01/25/12     Page 26 of 51




motion to suppress statements, Hurley asserted that this motion was derivative of the

illegal stop. Tr. 139.

       The Government contended that the officers had probable cause to believe

narcotics evidence would be inside Hurley's vehicle based upon the totality of the

circumstances. According to the Government an experienced narcotics detective, who

was involved in a wiretap investigation, saw several known targets of the investigation

engaged in what appeared to be a hand-to-hand drug transaction with Jeanetta, an

individual with a criminal history involving methamphetamine, and after that transaction,

Hurley was observed receiving an item from Jeanetta in a 10-15 second transaction in

the parking lot of a store and then making an attempt to get home in a hurry. See Govt.

Mem., p. 15.

       “[S]earches conducted outside the judicial process, without prior approval by

judge or magistrate, are per se unreasonable under the Fourth Amendment—subject

only to a few specifically established and well-delineated exceptions.” Katz v. United

States, 389 U.S. 347, 357 (1967) (footnotes omitted).        “One such exception is the

automobile exception, which allows law enforcement to ‘search a vehicle without a

warrant if they have probable cause to believe the vehicle contains evidence of criminal

activity.’” United States v. Brown, 634 F.3d 435, 438 (8th Cir. 2011) (quoting United

States v. Davis, 569 F.3d 813, 817 (8th Cir. 2009), quoting United States v. Cortez–

Palomino, 438 F.3d 910, 913 (8th Cir. 2006) (per curiam)). “Probable cause exists

where there is a ‘fair probability that contraband or evidence of a crime will be found in a




                                            26
     CASE 0:11-cr-00280-MJD-BRT          Doc. 487    Filed 01/25/12    Page 27 of 51




particular place.’” United States v. Donnelly, 475 F.3d 946, 954 (8th Cir. 2007) (quoting

Illinois v. Gates, 462 U.S. 213, 238 (1983)).

       Prior to the August 2, 2011, officers had information via Title III wiretaps,

surveillance, and coordinating traffic stops that Oceguara and Bonitas were involved in

trafficking methamphetamine and that Oceguara had purchased his methamphetamine

from Jeanetta. Officers also knew that Sanchez was one of the persons who would

deliver the methamphetamine to Oceguara and Bonitas, and that Sanchez was a

person from whom various controlled purchases of methamphetamine had been made.

On August 2, 2011, surveillance officers observed a brief contact between Sanchez,

Oceguara, Jeanetta and Bonitas at Jeanetta’s residence. Thereafter, officers followed

Jeanetta until he reached an AutoZone and deal with an employee regarding his

vehicle.   After Jeanetta’s contact with the AutoZone employee terminated, officers

observed Hurley’s vehicle, which had been seen at Jeanetta’s residence on July 25,

2011, enter the AutoZone parking lot. A surveillance officer observed Jeanetta get out

of the truck, go over to Hurley's open driver's window, lean in and give him something,

and this conduct, which took approximately 10 to 15 seconds, was consistent with a

hand-to-hand narcotics transaction. Hurley was then seen driving away at excessive

speed and running a red light, which officers believed was consistent with someone who

had just picked up narcotics and wanted to get home quickly.

       This Court finds that all of this conduct and information provided the officers with

probable cause to believe that a hand-to-hand narcotics transaction had just taken

place and that there was a fair probability that narcotics would be found in Hurley’s


                                            27
      CASE 0:11-cr-00280-MJD-BRT        Doc. 487    Filed 01/25/12    Page 28 of 51




vehicle. As such, Hurley’s motion to suppress evidence, and his companion motion to

suppress statements, should be denied.

IV.    ADELAIDA BARRAGAN-SANCHEZ’S MOTION FOR SUPPRESSION OF
       EVIDENCE FROM SEARCH AND SEIZURE [DOCKET NO. 194]

       A.    Factual Background

       Oakdale Police Officer Kevin Merkling (“Officer Merkling”) testified that he was a

part of the DEA task force. Tr. 151. On September 6, 2011, Officer Merkling had

located a vehicle outside of an apartment located on Geneva Avenue in Oakdale,

Minnesota, that was being used by Adelaida Barragan-Sanchez (“Barragan-Sanchez”).

Tr. 152, 158. According to Officer Merkling, officers had set up surveillance in the event

that police wanted to arrest anyone that had left the apartment. Id. While the officers

were waiting, the Oakdale Police Department received a 911 call at approximately

10:57 p.m. for a medical situation inside the apartment involving a child who was not

breathing. Id. Officer Merkling and other officers responded to the medical call and

subsequently the mother, Barragan-Sanchez, and her child were taken to the hospital

via an ambulance. Tr. 153, 159. Officer Merkling testified that detectives from the

police department remained on the scene because at the time they did not know the

circumstances of the medical emergency or if they would be called upon to investigate a

death. Tr. 162. Officer Merkling stated that he remained behind at the residence and

spoke with the leaseholder of the apartment, Leonela Gonzalez (“Gonzalez”). Tr. 154-

55.




                                           28
    CASE 0:11-cr-00280-MJD-BRT         Doc. 487    Filed 01/25/12   Page 29 of 51




      Based on his conversations with the manager of the building and Gonzalez,

Officer Merkling believed Gonzalez was the person who had authority and control over

the apartment. Tr. 154-155. Officer Merkling asked Gonzalez for consent to search the

apartment and provided her with a written form to authorize the consent. Id. Officer

Merkling testified that Gonzalez was able to read the form and understood its contents.

Tr. 155-56. Gonzalez gave Officer Merkling consent to search the apartment. Tr. 56;

Govt. Ex. 46.

      With that consent, Officer Merkling searched the apartment and discovered

$11,000 in United States currency located in several items piled together, including a

purse. Tr. 157. Gonzalez and the other person listed on the lease, Mirna Maldonado,

told Officer Merkling that the items from which the officers recovered the money

belonged to Barragan-Sanchez. Id.

      At some point, Officer Merkling learned from Gonzalez that Barragan-Sanchez

and her two infant children had been staying at the apartment for one to two days and

were staying in the south bedroom of the apartment. Tr. 162-63. The bedroom was a

small child’s bedroom that included a diaper bag and some other personal effects and

items belonged to Barragan-Sanchez and her minor children. Tr. 163. Officer Merkling

also testified that Gonzalez had an infant with her as well as a toddler at the time of

search. Tr. 161.

      B.        Analysis

      Barragan-Sanchez has moved for the suppression of evidence resulting from a

search on September 6, 2011 of her personal effects, including her purse, in an


                                          29
     CASE 0:11-cr-00280-MJD-BRT          Doc. 487   Filed 01/25/12   Page 30 of 51




apartment located on Geneva Avenue in Oakdale, Minnesota. See Memorandum in

Support of Motion to Suppress evidence as Result of Search (“Barragan-Sanchez

Mem.”) [Docket No. 468], p. 1. Barragan-Sanchez argued that she has standing under

the Fourth Amendment to seek suppression of the evidence as an overnight guest in a

host’s residence.    Id., pp. 3-4.   In addition, Barragan-Sanchez claimed that police

officers never obtained her consent to search her room in the apartment or the purse in

the room, and that neither the lessees nor the landlord had the authority to allow a

search of her purse where it was never established that they were allowed to use the

purse or that it was kept in a common area of the apartment. Id., pp. 4-5. Further, while

Barragan-Sanchez acknowledged that exigent circumstances existed to allow the

officers to enter the apartment due to the emergency call about the child, once those

exigent circumstances ceased, there was no exception that allowed the officers to

conduct a search without a warrant.         Id., p. 5.   Alternatively, even if exigent

circumstances existed, Barragan-Sanchez maintained those circumstances did not

justify officers looking behind closed doors or searching through her personal

belongings, particularly where the infant was rendered care in the common area until

the ambulance arrived. Id., p. 6.

      The Government agreed that an overnight guest has a reasonable expectation of

privacy and "standing" to challenge a search.        See Government’s Response to

Defendant Barragan-Sanchez’s Memorandum in Support of Motion to Dismiss [Docket

No. 476], p. 3.     Nevertheless, the Government argued that the leaseholder of the

apartment, Gonzalez, had the authority to give consent to the search of the apartment


                                            30
     CASE 0:11-cr-00280-MJD-BRT           Doc. 487   Filed 01/25/12   Page 31 of 51




and the belongings in it, especially considering that Barragan-Sanchez was not present

when the officers obtained the consent to search and actually searched the apartment.

Id., pp. 4-5 (citing United States v. Buckles, 495 F.2d 1377 (8th Cir. 1974)). In the

alternative, the Government submitted that even if Gonzalez lacked the actual authority

to authorize the search of Barragan-Sanchez’s personal belongings, Gonzalez’s

consent was still effective because officers reasonably believed that she had authority

to consent to the search. Id., pp. 5-7.

       The Fourth Amendment protects “[t]he right of the people to be secure in their

persons, houses, papers, and effects, against unreasonable searches and seizures,”

and it requires probable cause for lawful searches and seizures. U.S. CONST. amend.

IV; see also Gates, 462 U.S. at 230, 235. “The Fourth Amendment protects against

unreasonable searches and seizures, but its protections are personal and cannot be

asserted by persons lacking a legitimate expectation of privacy in the place searched.”

United States v. Wiest, 596 F.3d 906, 909 (8th Cir. 2010) (internal quotation marks

omitted). The “‘status as an overnight guest is alone enough to show that defendant

had an expectation of privacy in the home that society is prepared to recognize as

reasonable.” Wiest, 596 F.3d at 909 (quoting Minnesota v. Olson, 495 U.S. 91, 96-97

(1990). “‘From the overnight guest’s perspective, he seeks shelter in another's home

precisely because it provides him with . . . a place where [the guest] and his

possessions will not be disturbed by anyone but his host and those his host allows

inside.’” Wiest, 596 F.3d at 909-10 (quoting Olson, 495 U.S. at 99) (emphasis added);

see also United States v. Oates, 173 F.3d 651, 656 (8th Cir. 1999) (status as an


                                            31
     CASE 0:11-cr-00280-MJD-BRT          Doc. 487       Filed 01/25/12   Page 32 of 51




overnight guest creates a reasonable expectation of privacy against anyone but the host

and those the host allows inside) (citation omitted).

       Based on these precepts, Barragan-Sanchez, as Gonzalez’s guest in her

apartment, had a reasonable expectation of privacy from everyone, except Gonzalez

and anyone Gonzalez allowed inside of the apartment. This right to privacy includes

Barragan-Sanchez’s possessions in the apartment. See also United States v. Buckles,

495 F.2d 1377, 1381-82 (8th Cir. 1974) (“The consent of a joint occupant of a residence

to search the premises jointly occupied is also valid against the co-occupant.           In

Maxwell, the defendant also argued that his coat was an item of such personal nature

that it could not be seized without his consent. We rejected the proposition saying: ‘This

argument overlooks the consent to the officers' acquisition of the coat by a person

having the proprietary interest in the premises where it was. * * * It was an item which

freely came into the hands of the authorities by one who had the right to make it

available to them. * * *’”) (internal citation omitted) (quoting Maxwell v. Stephens, 348

F.2d 325 (8th Cir. 1965), cert. denied, 382 U.S. 944 (1965)). No evidence or testimony

was elicited that Gonzalez was precluded from going into the room in her own

apartment where Barragan-Sanchez’s purse and bags were located, nor was Barragan-

Sanchez present to object to any search. Therefore, Barragan-Sanchez could not have

a reasonable expectation of privacy against individuals, including the police, who

Gonzalez, as the leaseholder, provided consent to search the apartment.




                                            32
     CASE 0:11-cr-00280-MJD-BRT          Doc. 487    Filed 01/25/12    Page 33 of 51




       Furthermore, even if Gonzalez did not have actual authority to consent to the

search the apartment room and its contents, the Court finds that Gonzalez had apparent

authority to authorize the police to search the apartment and the possessions inside–

              [e]ven if the third party lacked the requisite common
              authority, the Fourth Amendment is not violated if the police
              reasonably believed the consent was valid. See Illinois v.
              Rodriguez, 497 U.S. 177, 188-89, 110 S.Ct. 2793, 111
              L.Ed.2d 148 (1990). In such a case, the critical inquiry is
              whether the facts available to the police at the time the
              consent is given would warrant a person of reasonable
              caution to believe the consenting party had authority over
              the place to be searched. See United States v. Elam, 441
              F.3d 601, 603 (8th Cir. 2006).

United States v. Hilliard, 490 F.3d 635, 639 (8th Cir. 2007).

       With regard to apparent authority, “[t]he relevant inquiry is whether the facts

available would have justified a reasonable officer in the belief that the consenting party

had authority over the premises.” United States v. Czeck, 105 F.3d 1235, 1239 (8th Cir.

1997) (citing Rodriguez, 497 U.S. at 188); see also United States v. James 353 F.3d

606, 615 (8th Cir. 2003) (citation omitted) (providing that the inquiry into apparent

authority is whether “the facts available to the officer at the time the consent is given

warrant a person of reasonable caution in the belief that the consenting party had

authority over the item to be searched”) (citations omitted).

       Prior to the search of the apartment, Officer Merkling had knowledge from the

manager of the apartment complex that Gonzalez was one of the individuals listed on

the lease. Based on his conversation with the manager, Officer Merkling believed that

Gonzalez had authority and control over the apartment. When Officer Merkling sought



                                            33
     CASE 0:11-cr-00280-MJD-BRT         Doc. 487   Filed 01/25/12    Page 34 of 51




consent from Gonzalez to search the apartment, Barragan-Sanchez had left the

apartment in an ambulance.      The voluntary consent to search signed by Gonzalez

provided as follows:

             I hereby authorize representatives from the Oakdale Police
             Department to conduct a complete search of my property
             and the contents within. The property to be searched is
             described as follows: Apt #XXX at XXXX Geneva Ave –
             Whole Apt. . . .

See Govt. Ex. 46 (emphasis added).

      Based on the information received from the apartment manager and Gonzalez,

the Court finds that a reasonable officer could believe that Gonzalez, as the consenting

party, had authority over the entire premises. While Barragan-Sanchez suggested that

the officers should have that known that only she had control over the room given the

presence of a diapers bag, Barragan-Sanchez ignores the testimony of Officer Merkling

that Gonzalez had an infant with her as well as a toddler. Tr. 161. Only after the items

were found did Gonzalez state that they belonged to Barragan-Sanchez. Tr. 157, 163.

In any event, as stated previously, Barragan-Sanchez was not present when officers

obtained consent from Gonzalez or during the search so as to challenge any assertion

that Gonzalez lacked the requisite authority to allow the search of the room of the

apartment and the contents within it.

      For all of the reasons stated above, the Barragan-Sanchez’s motion to suppress

the evidence located in the apartment should be denied.




                                          34
     CASE 0:11-cr-00280-MJD-BRT          Doc. 487    Filed 01/25/12     Page 35 of 51




V.     ROBERT ALAN DELFORIN’S MOTION TO SUPPRESS ANY STATEMENTS
       MADE BY DEFENDANT [DOCKET NO. 293]; DEFENDANT ROBERT ALAN
       DELFORIN’S MOTION TO SUPPRESS ANY EVIDENCE OBTAINED AS A
       RESULT OF ANY ILLEGAL SEARCHES [DOCKET NO. 294]; DEFENDANT
       ROBERT ALAN DELFORIN’S MOTION TO SUPPRESS ANY IDENTIFICATION
       OF DEFENDANT [DOCKET NO. 295]

       Robert Alan Delforin (“Delforin”) filed several boilerplate motions to suppress

evidence, statements, and identification. Delforin failed to identify the specific evidence

he wanted to suppress or the basis as to why the evidence should be suppressed.

Even after the Court invited supplemental briefing by the parties, Delforin filed no

memoranda in support of his motion to suppress. On this basis alone, the Court finds

that the motion to suppress should be denied. See United States v. Edwards, 563 F.

Supp.2d 977, 994 (D. Minn. 2008).

       In any event, as to the motion to suppress evidence, the only evidence that was

taken from Delforin was a belt, a multi-tool, keys, jewelry, lighters, a cell phone, a

flashlight a drug pipe and a portable scale. See Govt. Ex. 4, Tr. 148-49. Deputy

Nathan Matthews (“Deputy Matthews”) with the United States Marshall’s Office testified

that on October 12, 2011, he executed an arrest warrant for Delforin issued by United

States District Judge Susan R. Nelson. Tr. 144-45, Govt. Ex. 45. Deputy Matthews

stated that officers located Delforin at a St. Paul residence and when officers attempted

to execute the arrest warrant, Delforin fled. Tr. 146-47. After officers arrested and

handcuffed Delforin, they conducted a pat down search of Delforin in order to conduct

an inventory of the items in his pockets and for officer safety. Tr. 147-48.




                                            35
     CASE 0:11-cr-00280-MJD-BRT        Doc. 487    Filed 01/25/12   Page 36 of 51




      “A full search of an arrestee and the area within an arrestee’s immediate control

for both weapons and evidence may be made during a search incident to arrest.”

United States v. Jones, 479 F.3d 975, 978 (citing United States v. Hrasky, 453 F.3d

1099, 1100-01 (8th Cir. 2006)). Because officers arrested Delforin pursuant a court

issued warrant, they were entitled to conduct a search of his person.       Therefore,

Delforin’s motion to suppress evidence should be denied.

      As for Delforin’s motion to suppress statements, Deputy Matthews testified that

he did not received any statement from Delforin and the only statement made by

Delforin was that he did not want to go to jail. Tr. 150. There is no evidence in the

record that this statement was anything but a spontaneous utterance by Delforin.

“‘Volunteered statements of any kind are not barred by the Fifth Amendment.’” United

States v. Butzin, 886 F.2d 1016, 1018 (8th Cir.1989) (quoting Miranda v. Arizona, 384

U.S. 436, 478 (1966)). As such, Delforin’s motion to suppress statements should be

denied.

      Finally, there was no evidence presented in the submissions or at the hearing

that there were any identifications of Delforin.   Thus, Delforin’s motion to suppress

identifications should be denied.




                                          36
      CASE 0:11-cr-00280-MJD-BRT         Doc. 487    Filed 01/25/12     Page 37 of 51




VI.    ELECTRONIC SURVEILLANCE MOTIONS: ADELAIDA BARRAGAN-
       SANCHEZ’S MOTION TO SUPPRESS EVIDENCE FROM INTERCEPTION OF
       WIRE OR ORAL COMMUNICATION [DOCKET NO. 196]; ERIKA ROMERO
       MONTENEGRO’S MOTION TO SUPPRESS EVIDENCE OBTAINED FROM
       ELECTRONIC SURVEILLANCE AND WIRETAPPING [DOCKET NO. 220];
       ROBERT ALAN DELFORIN’S MOTION TO SUPPRESS EVIDENCE OF
       ELECTRONIC SURVEILLANCE AND WIRETAPPING DOCKET NO. 296]; AND
       SUSANA BARRAGAN-SANCHEZ MOTION TO SUPPRESS THE CONTENTS
       OF ANY INTERCEPTED WIRE OR ORAL COMMUNICATIONS AND
       DERIVATIVE DEVICE [DOCKET NO. 336] 5

5
       Montenegro filed a boilerplate motion to suppress multiple wiretaps authorized in
this case stating only that “government has failed to demonstrate the necessary
necessity to justify the wire taps.” See Docket No. 220. Montenegro filed no
memorandum in support of this argument and provided no evidence to support her
assertion. The only representation by counsel at the hearing was that the “wiretap
motion [ ] was based on the four corners.” Tr. 87.

      In Delforin’s boilerplate motion to suppress the wiretap, he only asserted that “the
government has failed to demonstrate the necessary necessity to justify the wire taps”
and that the “government has failed to minimize intercepted conversations as required
by law.” See Docket No. 296. Delforin filed no memorandum in support of this motion,
made no argument at the hearing and provided no evidence to support his position.

        Susana Barragan-Sanchez’s also filed a boilerplate motion to suppress and all
evidence obtained from electronic surveillance on the grounds that the unidentified
application and order do not contain the identity of all persons known to be committing
offenses and whose communications would be intercepted; failed to set forth other
investigative techniques used and why they could not be used; failed to contain a
showing of probable cause that communications regarding narcotics would be
intercepted; contained unidentified misrepresentations; failed to minimize the
interception of communications; and the intercepting officers did not terminate the
interception upon the attainment of the authorized objective. See Docket No. 336. In
addition, Susana Barragan-Sanchez asserted that an unidentified extension of a wiretap
was invalid; failed to set forth the complete results obtained from the interception; failed
for the reasons set forth as to the unidentified original application; was unlawful because
it authorized interceptions for a period longer than was necessary to achieve the
purposes for which it was granted; and the intercepting officers failed to serve
inventories within the time allotted.         Id.    Susana Barragan-Sanchez filed no
memorandum in support of this motion, made no argument at the hearing and provided
no evidence to support her position.

      “At the end of the day, as the moving party, at a minimum it is defendant’s
burden to come forth with some evidence and argument to support his position that
                                      37
     CASE 0:11-cr-00280-MJD-BRT          Doc. 487    Filed 01/25/12     Page 38 of 51




       Barragan-Sanchez argued that the July 12, 2011 application for the interception

of wired communications did not establish that the only reasonable method of

developing necessary evidence was to intercept private telephone communications

because the Government failed to establish that normal investigation procedures had

been tried and failed. See Defendant Adelaida Barragan-Sanchez’s Memorandum of

her Motion to Suppress Evidence Seized as a Result of Illegal Wire Taps [Docket No.

455], pp. 1, 4.    In particular, Barragan-Sanchez asserted that seeking telephone

intercepts over Target Telephone #1 (“TT-1”) was not necessary because the

Government had already been successful in its investigation of the Drug Trafficking



evidence, statements or a witness identification should be suppressed.” Edwards, 563
F. Supp.2d at, 994 (citing United States v. Starks, 193 F.R.D. 624, 629 (D. Minn. 2000)
(quoting United States v. de la Fuente, 548 F.2d 528, 533 (5th Cir.), cert. denied 431
U.S. 932 (1977) (“It is well established that the burdens of production and persuasion
generally rest upon the movant in a suppression hearing.”)); see also United States. v.
Torres, NO. 10-CR-0339(8) (PJS/JJK), 2011 WL 3035215 at *2 (D. Minn. July 07, 2011)
(same) (citation omitted).        As the court in Starks observed, “even in those
circumstances where the Government has the ultimate burden of persuasion,
Defendant has the initial burden of making a prima facie showing of illegality.” 193
F.R.D. at 629; see also United States v. Diezel, 608 F.2d 204, 207 (5th Cir. 1979) (“As
this Court said in United States v. Evans, 572 F.2d 455, 486 (5th Cir. 1978), cert. denied
439 U.S. 870 (1978), ‘The burden is on the movant to make specific factual allegations
of illegality, to produce evidence, and to persuade the court that the evidence should be
suppressed.’”). In short, “[f]ailure to provide the Court with any support for the motion is
a sufficient basis for denial of the motion.” United States v. Rosetter, Crim. No. 10–83
(JNE/JSM), 2010 WL 5184991 at *23 (D. Minn. Oct. 1, 2010); see also Torres, 2011 WL
3035215 at *2 (denying motion to suppress evidence from electronic surveillance on this
basis).

       Because neither Montenegro, Delforin nor Susana Barragan-Sanchez provided
this Court with any evidence or legal argument as to why their respective motions to
suppress should be granted, this Court recommends that their motions should be
denied on that basis. The Court will not (and cannot) divine a constitutional violation for
these defendants, particularly given the multitude of applications for intercepting wire
communications in this case. That is the job of their attorneys.
                                           38
     CASE 0:11-cr-00280-MJD-BRT        Doc. 487    Filed 01/25/12   Page 39 of 51




Organization (“DTO”) being investigated and had already created probable cause to

arrest its perceived leaders and perceived accomplices, including: (1) a cooperating

source made controlled buys of methamphetamine from a suspected member of the

DTO and the cooperating source had provided to officers that he had contacted

Magana-Farias, the suspected head of the DTO and other defendants to arrange for the

transactions; (2) officers knew where defendant Oceguara resided and a second

cooperating source had provided information to law enforcement that Oceguara and his

girlfriend had been bringing methamphetamine to Minnesota; (3) via a pen register,

officers were able to seize a large amount of currency from defendant Montenegro; (4)

via a contact from a cooperating source, law enforcement already had contact with

Magana-Farias and thus, the wiretap was not necessary; and (5) officers had contacts

with number of cooperating sources providing information regarding the DTO and its

participants. Id., pp. 2-5.

       The Government disagreed, contending that the goal of the investigation was not

to gather evidence about the sporadic drug sales of a few individuals, but to obtain

direct evidence that would convince a jury beyond a reasonable doubt of the full scope,

methods, extent and personnel involved in the DTO conspiracy; the identity and role of

all those involved, including the suppliers, sellers, buyers, couriers, financiers and

others; the period of the operation; the management, the disposition and money

laundering of the proceeds; and the identity of the assets held under fictitious names.

See Govt. Mem., pp. 16-17. The Government argued that the application set forth the

multiple conventional methods used and that these methods were unable to meet the


                                          39
     CASE 0:11-cr-00280-MJD-BRT         Doc. 487    Filed 01/25/12    Page 40 of 51




goals of the investigation. Id., p. 17. Further, the Government asserted that if the Court

were to accept Barragan-Sanchez’s contention that the wiretap information was not

necessary because of all of the information that officers had obtained in the

investigation, no wiretap would ever be issued because the existence of probable cause

needed for the issuance of a wiretap would always negate the necessity requirement.

Id. In the alternative, the Government argued that the “good faith exception” adopted in

United States v. Leon, 468 U.S. 897 (1984) requires that the suppression motion be

denied. Id.

        A.    Factual Background

        On July 12, 2011, Special Agent Sean Harris (“Agent Harris”) submitted an

Affidavit in support of an application for the interception of wire communications over

TT-1.    See Govt. Ex. 6.       The affidavit provided that the interception of wire

communications over TT-1 was necessary to obtain direct evidence that would convince

a jury beyond a reasonable doubt of the full scope, methods, extent and personnel

involved in the DTO conspiracy; the identity and role of all those involved, including the

suppliers, sellers, buyers, couriers, financiers and others involved; the period of the

DTO operation; the management, the disposition and money laundering of the proceeds

obtained by the DTO; and the identity of assets held under fictitious names. Id., ¶ 71.

Agent Harris then discussed the conventional investigative techniques used that had not

provided specifically sufficient information as to the conduct, participation and scope of

the conspiracy to obtain criminal convictions for all of the co-conspirators in the

investigation and the DTO’s ultimate source. Id., ¶ 72.


                                           40
    CASE 0:11-cr-00280-MJD-BRT         Doc. 487     Filed 01/25/12     Page 41 of 51




      Agent Harris described the use of three confidential sources of information and

two cooperating defendants that had provided detailed information regarding the DTO

and its members, including one of the confidential sources who made purchases of

methamphetamine from several members of the DTO.              Id., ¶ 73.    Agent Harris

described seven separate controlled purchases from the DTO.              Id., ¶ 41.    The

cooperating source made arrangements to make purchases of methamphetamine from

Magana-Farias, defendant Miguel Angel Sanchez-Rodriguez (“Sanchez-Rodriguez”)

and Javier Hernandez-Coria (“Hernandez-Coria”).       Id., ¶ 42.     These contacts were

recorded and confirmed by looking at the source’s telephone to verify the number

dialed. Id. The affidavit established that these controlled buys through the confidential

sources were arranged by either Magana-Farias, Sanchez-Rodriguez or Hernandez-

Coria and that the transactions were performed by Sanchez-Rodriguez, Hernandez-

Coria or other runners. Id., ¶¶ 43-64. On April 5, 2011, confidential sources also

learned from Sanchez-Rodriguez that Magana-Farias was in California and that he

would be returning to Minnesota soon with more methamphetamine. Id., ¶ 48. In

addition, the confidential sources provided information that they had made purchases of

methamphetamine from Oceguara, and that Montenegro had transported drugs from

the west coast to Minnesota and currency back for the DTO. Id., ¶¶ 32-35, 39. The

confidential sources were not sure of the source of Oceguara’s narcotics in Minnesota.

Id., ¶ 40.   Using surveillance, officers observed Montenegro have contact with

Hernandez-Coria and then subsequently used a pen register to track that she had left

the Twin Cities; the officers passed the information along to agents in Nebraska, which


                                           41
     CASE 0:11-cr-00280-MJD-BRT            Doc. 487     Filed 01/25/12   Page 42 of 51




led to the stop of Montenegro’s vehicle and the seizure of approximately $159,000. Id.,

¶¶ 37, 38.

       Agent Harris stated that the testimony of the confidential sources was not

sufficient to obtain a conviction of the leaders of the DTO, the integral members of the

DTO and others involved in the DTO. Id., ¶ 73. While these sources of information

could identify some of the members of DTO, they could not reveal the full scope of the

conspiracy. Id., ¶ 75. In addition, Agent Harris was concerned that the confidential

sources would be reluctant to testify regarding the information they provided to the

investigation due to their possible fear of retaliation. Id., ¶ 74.

       Agent Harris also discussed the use of undercover investigations and provided

that a confidential source believed that Magana-Farias and Sanchez-Rodriguez would

not meet with an outsider with whom they had not conducted business in the past; in his

experience such undercover investigations would only be limited to one or two targets,

which would not address the entire DTO; and there was no avenue known by which an

undercover agent could be inserted into the DTO. Id., ¶ 76.

       Agent Harris addressed the use of physical surveillance. According to Agent

Harris, surveillance does not typically provide details of the exact content of drug

transactions and is best used to corroborate intercepted conversations and to identify

co-conspirators. Id., ¶¶ 77, 78. Agent Harris noted that the surveillance of Sanchez-

Rodriguez, the runner for the DTO, had not yielded the location of Magana-Farias. Id.,

¶ 79. In addition, there were several instances where subjects of surveillance would

use erratic driving techniques as a method of evading surveillance.          Id., ¶¶ 81-83.


                                              42
     CASE 0:11-cr-00280-MJD-BRT          Doc. 487     Filed 01/25/12    Page 43 of 51




Agent Harris noted that agents experienced difficulty in conducting surveillance of

participants who live in apartments because it was difficult to conduct surveillance of an

apartment unit within a common hallway.          Id., ¶ 84.   As to Magana-Farias, it was

believed that he generally resided in California and possibly stayed at a number of

locations in Minnesota, making it difficult to locate his whereabouts. Id., ¶ 85.

       Agent Harris opined that continued surveillance would not provide sufficient

information as to the conduct, participation and scope of the conspiracy needed to

obtain convictions of the leaders, integral members and other participants of the DTO

and would not reveal the full scope of the conspiracy without the requested electronic

surveillance; continued surveillance would likely be detected by the subjects of the

investigation and cause them to be more cautious and compromise the safety of

informants; and surveillance is normally used to confirm meetings, identify people,

locations and vehicles used in the furtherance of the conspiracy.             Id., ¶ 86-89.

According to Agent Harris, surveillance does not typically provide details of the exact

purpose or content of the meeting except by inference. Id., ¶ 89. Agent Harris also

noted the difficulties with starting a surveillance operation due to the use of prepaid cell

phones that do not require the holder to provide their real name or address. Id., ¶ 89.

       Agent Harris stated that the use of search warrants did not appear to be a useful

investigatory technique given that large-scale drug traffickers often utilize several

locations to conceal controlled substances and proceeds in order to minimize the risk of

discovery during the execution of a search warrant, including the removal of contraband

from other locations once the execution of search warrant is conducted at one location.


                                            43
     CASE 0:11-cr-00280-MJD-BRT         Doc. 487     Filed 01/25/12    Page 44 of 51




Id., ¶ 92.   Further, given the believed scope of this organization and the money

laundering involved, a search warrant at one location was not likely to yield evidence

incriminating all or most of the participants at any one location. Id. In addition, Agent

Harris stated that based on his experience, there is a finite period of time between the

delivery of drugs, their subsequent distribution and the gathering of proceeds. Id., ¶ 93.

As such, the execution of the search warrant without knowledge of when a co-

conspirator would be in possession of contraband or proceeds creates on a random

chance of discovering all the pertinent evidence. Id. The execution of search warrants

was also not feasible because it would alert the subjects to the scope of the

investigation and would not likely yield evidence sufficient to prosecute interstate

couriers and sources. Id., ¶ 95.

      Agent Harris concluded that pen registers and toll records have been valuable

tools in the investigation in identifying the objects of the investigation and the methods

of communications. Id., ¶ 96. However, these tools can only confirm contact between

two telephones.    Id.   This information, coupled with physical surveillance, can only

confirm contact and not the substance of a conversation. Id., ¶¶ 96-97. In other words,

the content of conversation is not ascertainable by these tools. Id.

      According Agent Harris, officers attempted a trash search that yielded no results.

Id., ¶ 98.   Further, Agent Harris opinioned that trash searches at the suspected

residences of Sanchez-Rodriguez or Hernandez-Coria were impractical because they

lived in an apartment complex making it difficult to associate any discovered contraband

to a specific apartment.      Id.   A trash search of Magana-Farias’ residence was


                                           44
     CASE 0:11-cr-00280-MJD-BRT           Doc. 487       Filed 01/25/12   Page 45 of 51




impossible because officers did not know the location of any of his residences. Id., ¶

99. To the extent that such a search would be useful, it would only relate to obtaining a

search warrant, which would be of a limited benefit as stated above. Id., ¶ 100.

       The use of a grand jury subpoena would only serve to obtain information from

sources that have already provided information and actual targets of the investigation

would likely invoke their Fifth Amendment privilege against self-incrimination. Id., ¶¶

101-103. Granting immunity to the targets would result in a lack of prosecution of some

of the most culpable individuals. Id., ¶ 103. In addition, the issuance of subpoenas to

lower level members of an organization would likely lead to the notification of other

conspirators as to the existence of the investigation, making them more cautious in their

activities, causing them to flee, threatening the lives of informants or otherwise

compromising the investigation. Id., ¶ 104.

       Agent Harris stated that a financial investigation into the trafficking operation was

underway, but he did not think it would be of much assistance because it was believed

that the assets of the DTO and its principals were being held under the names of others

in order to evade detection. Id., ¶ 105. He also noted that such an investigation was

not likely to reveal the full scope of the conspiracy.    Id.

       Given that normal methods of investigation appeared unlikely to succeed if tried

or continued, Agent Harris requested an authorization for a 30-day interception of wire

communication over TT-1. Id., ¶ 106. Agent Harris testified at the hearing that the goal

was not to just arrest a few individuals from the organization using controlled buys, but




                                             45
    CASE 0:11-cr-00280-MJD-BRT          Doc. 487   Filed 01/25/12    Page 46 of 51




to identify the sources of the narcotics, the sources of the money, and all of the co-

conspirators. Tr. 195-96.

      Agent Harris represented that all interceptions of communications would be

minimized pursuant to the minimization requirement of Chapter 119 of Title 18, United

States Code. Specifically, he stated:

             Interception will be suspended immediately when it is
             determined that the conversation is unrelated to
             communications subject to interceptions under Chapter 119
             of Title 18, United States Code. Interceptions will be
             suspended immediately when it is determined through voice
             identification, physical surveillance, or otherwise that none
             of the named interceptees or any of their confederates,
             when identified, are participants in the conversation, unless
             it is determined during the portion of the conversation
             already overheard that the conversation is criminal in
             nature. Monitoring will cease immediately when it is
             determined that the conversation is between a violator and
             her/his spouse, unless it is determined during the portion of
             the conversation already overheard that the conversation is
             criminal in nature. Spot monitoring of non-criminal
             conversation will be done to ensure that those
             conversations have not turned criminal in nature.

See Govt. Ex. 6, ¶ 110.

      At the hearing, Agent Harris testified that monitors were instructed to listen for

two minutes, and if the conversation did not pertain to the investigation, they were

directed to stop listening and then check every 30 seconds for about 4-5 seconds to

ensure that conversation had not gone into the issue of narcotics trafficking. Tr. 185.

When officers were not listening, the equipment was turned off, including the recording

equipment.   Id.   In addition, monitors were told to cease monitoring as to some

privileged conversations, be it with a cleric or a religious figure, as well as with an


                                          46
     CASE 0:11-cr-00280-MJD-BRT         Doc. 487    Filed 01/25/12    Page 47 of 51




attorney, doctor or other health care provider, subject to 30-second spot-checking. Tr.

185-86. The monitors were provided with a minimization memorandum outlining these

procedures. Tr. 187; Govt. Ex. 41. Agent Harris testified that he kept track of the

monitoring and issued a report on the minimizations used. Tr. 188; Govt. Ex. 42.

        On July 12, 2011 United States District Judge Donovan W. Frank issued an order

authorizing the interception of wire communications from TT-1 for a period of 30 days,

finding that there was probable cause to believe that the targets of the interception have

been and continuing to commit narcotic trafficking crimes and the interception of

communications from TT-1 will concern communications dealing with the commission of

narcotics crimes. See Govt. Ex. 7.

        B.    Analysis

        As stated previously, Barragan-Sanchez challenged the wiretap of TT-1 based

on necessity arguing that in seeking a court authorization for the wiretap, the

Government failed to satisfy the prerequisite of necessity as required by 18 U.S.C. §

2518.

        The necessity requirement of § 2518 insures ‘“that wiretaps are not routinely

employed as the initial step in an investigation.’” United States v. Jackson, 345 F.3d

638, 644 (8th Cir. 2003) (quoting United States v. Thompson, 210 F.3d 855, 858-859

(8th Cir.), cert. denied, 532 U.S. 996 (2000), quoting, in turn, United States v. Maxwell,

25 F.3d 1389, 1394 (8th Cir.), cert. denied, 513 U.S. 1031 (1994)). “To satisfy the

requirement, an application requesting a wiretap order must include ‘a full and complete

statement as to whether or not other investigative procedures have been tried and failed


                                           47
     CASE 0:11-cr-00280-MJD-BRT          Doc. 487     Filed 01/25/12    Page 48 of 51




or why they reasonably appear to be unlikely to succeed if tried or to be too

dangerous.’” Jackson, 345 F.3d at 644 (quoting 18 U.S.C. § 2518(1)(c)). However, the

necessity requirement does not “require that law enforcement officers ‘exhaust all

possible techniques before applying for a wiretap.’”        Thompson, 210 F.3d at 859

(quoting United States v. Shaw, 94 F.3d 438, 441 (8th Cir.), cert. denied, 519 U.S. 1100

(1997)) (citation omitted).

       Here, the wiretap of TT-1 was not utilized as the initial step in the investigation of

the DTO or Barragan-Sanchez’s involvement in it. Agent Harris explained the various

investigative techniques that had been used to achieve the goals of the investigation –

to locate and learn the identity of members of the DTO; the scope of the organization’s

activities; the period of its operation; the management, the disposition and money

laundering of the proceeds; and the identity of the assets held under fictitious names –

and the information officers had obtained from these tools. For example, officers had

obtained information from confidential sources and surveillance regarding Magana-

Farias, Sanchez-Rodriguez and Hernandez-Coria’s involvement in drug trafficking for

the DTO, and from the employment of pen registers, surveillance and a confidential

source, officers were able to seize a large amount of money from Montenegro’s vehicle.

However, Barragan-Sanchez confuses the success of particular investigation or tool

with the determination that the necessity requirement was not met. Here, both the

application and testimony of Agent Harris made clear that despite some successes in

their investigation, law enforcement were still trying to track down the ultimate source of

the narcotics and the monetary support for the DTO. In addition, the affidavit set forth


                                             48
     CASE 0:11-cr-00280-MJD-BRT           Doc. 487   Filed 01/25/12   Page 49 of 51




the reasons why use of tools such as search warrants, further surveillance, further pen

registers, confidential sources of information, undercover agents, trash searches and

grand jury subpoenas, had not been successful to date and were not likely to achieve

the objectives of the investigation in the future.

       The Court concludes that officers had exhausted their attempts to identify and

locate the ultimate source of the narcotics and monetary support of the DTO.           In

addition, Court concludes the affidavit sufficiently sets forth why additional techniques

would not be effective to achieve the overall objectives of the investigation. As such,

the Court finds that the Government has met its statutory duty with respect to a

statement of necessity, and Barragan-Sanchez’s motion to suppress the evidence

obtained from the interception of TT-1 is denied.6

                                   RECOMMENDATION

       For the reasons set forth above and based on all the files, records, and

proceedings herein,

       IT IS RECOMMENDED THAT:

       1.     Adelaida Barragan-Sanchez’s Motion for Suppression of Evidence from

Search and Seizure [Docket No. 194] be DENIED;

       2.     Adelaida Barragan-Sanchez’s Motion to Suppress Statements [Docket No.

195] be DENIED as moot based on the representations of defendant’s counsel at the

hearing;




6
        This Court will not discuss the Leon exception since it has determined that
sufficient necessity existed for the issuance of the wiretap.
                                             49
    CASE 0:11-cr-00280-MJD-BRT           Doc. 487   Filed 01/25/12   Page 50 of 51




      3.     Adelaida Barragan-Sanchez’s Motion to Suppress Evidence from

Interception of Wire or Oral Communication [Docket No. 196] be DENIED;

      4.     Erika Romero Montenegro’s Motion to Suppress Evidence Obtained from

Electronic Surveillance and Wiretapping [Docket No, 220] be DENIED;

      5.     Erika Romero Montenegro’s Motion to Suppress Confession or Statement

in the Nature of the Confessions [Docket No. 221] be DENIED;

      6.     Erika Romero Montenegro’s Motion to Suppress Evidence Obtained in

Violation of the Fourth Amendment [Docket No. 222] be DENIED.

      7.     Robert Alan Delforin’s Motion to Suppress any Statements Made by

Defendant [Docket No. 293] be DENIED;

      8.     Robert Alan Delforin’s Motion to Suppress any Evidence Obtained as a

Result of Any Illegal Searches [Docket No. 294] be DENIED;

      9.     Robert Alan Delforin’s Motion to Suppress any Identification of Defendant

[Docket No. 295] be DENIED;

      10.    Robert Alan Delforin’s Motion to Suppress Evidence of Electronic

Surveillance and Wiretapping [Docket No. 296] be DENIED;

      11.    Susana Barragan-Sanchez’s Motion to Suppress the Contents of Any

Intercepted Wire or Oral Communications and Derivative Device [Docket No. 336] be

DENIED;

      12.    Harold James Hurley’s Motion for Suppression of Evidence Obtained by

Electronic Surveillance [Docket No. 338] is WITHDRAWN based on the representation

of defendant’s counsel at the hearing;


                                           50
     CASE 0:11-cr-00280-MJD-BRT          Doc. 487    Filed 01/25/12     Page 51 of 51




       13.    Harold James Hurley’s Motion to Suppress Statements [Docket No. 339]

be DENIED; and

       14.    Harold James Hurley’s Motion to Suppress Evidence Obtained Through

Illegal Search [Docket No, 340] be DENIED.




Dated: January 25, 2012
                                          s/ Janie S. Mayeron
                                          JANIE S. MAYERON
                                          United States Magistrate Judge




Under D.Minn. LR 72.2(b) any party may object to this Report and Recommendation by
filing with the Clerk of Court, and serving all parties by February 8, 2012, a writing
which specifically identifies those portions of this Report to which objections are made
and the basis of those objections. A party may respond to the objecting party's brief
within ten days after service thereof. All briefs filed under this Rules shall be limited to
3500 words. A judge shall make a de novo determination of those portions to which
objection is made. This Report and Recommendation does not constitute an order or
judgment of the District Court, and it is therefore not appealable directly to the Circuit
Court of Appeals.

Unless the parties stipulate that the District Court is not required by 28 U.S.C. § 636 to
review a transcript of the hearing in order to resolve all objections made to this Report
and Recommendations, the party making the objections shall timely order and file a
complete transcript of the hearing on or before February 8, 2012.




                                            51
